                                            Depo Start Time
Depo No. Deponent Name        Depo Date                         Depo Location
                                            (US Pacific Time)
   1     Dahe Zhang           5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   2     Dongli Zhang         5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   3     Hao Qi               5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   4     He Cui               5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   5     Hongliang Tang       5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   6     Hongying Yu          5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   7     Hongyun Yu           5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   8     Hui Wang             5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   9     Huiqing Zhu          5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   10    Jialin Tian          5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   11    Jianying Ding        5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   12    Jianying Meng        5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   13    Jichun Du            5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   14    Jie Chu              5/12/2025     9:00 AM             Seattle, Washington (exact location TBD)
   15    Jie Tang             5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   16    Jie Yan              5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   17    Jieying Feng         5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   18    Jingyi Wang          5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   19    Jinyang Hu           5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   20    Juan Shao            5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   21    Jun Che              5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   22    Jundi Liang          5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   23    Junli Wei            5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   24    Junmei Jin           5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   25    Ke Yang              5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   26    Lan Cai              5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   27    Lei Pei              5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   28    Luyi Zhang           5/13/2025     9:00 AM             Seattle, Washington (exact location TBD)
   29    Min Pan              5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   30    Minbo Zhou           5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   31    Naixin Hu            5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   32    Nan Zhou             5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   33    Phuong Nguyen        5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   34    Qi Xu                5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   35    Qiang Wang           5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   36    Qin Yang             5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   37    Qing Du              5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   38    Rongrong Wu          5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   39    Rui Tang             5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   40    Shan Wan             5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   41    Shi Zhang            5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   42    Shujie Chen          5/14/2025     9:00 AM             Seattle, Washington (exact location TBD)
   43    Shuxian Zeng         5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   44    Siyu Liu             5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   45    Tao Li               5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   46    Tianran Chen         5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   47    Weihong Lu           5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   48    Weijun Chen          5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   49    Wenlung Chen         5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   50    Wenyan Wang          5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   51    Xiao Huang           5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   52    Xiao Rong            5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   53    Xiaohong Sun         5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   54    Xiaohong Zhang       5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   55    Xin Meng             5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   56    Xinhan Lin           5/15/2025     9:00 AM             Seattle, Washington (exact location TBD)
   57    Yan Lyu aka Yan Lu   5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   58    Yeqing Pan           5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   59    Xuerong Qi           5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   60    Ying Zhao            5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   61    Ziling Zeng          5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   62    Yiran Han            5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   63    Yuanyuan Ma          5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   64    Yun Cai              5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   65    Yunfei Wu            5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   66    Yupeng Gao           5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   67    Yuquan Wang          5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   68    Zhaohui Xu           5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   69    Zhaojun Cong         5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)
   70    Zidong Wang          5/16/2025     9:00 AM             Seattle, Washington (exact location TBD)




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